                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                        DOCKET NO. 3:16-cr-00209-MOC-DCK

 UNITED STATES OF AMERICA,                  )
                                            )
                                            )
                                            )
 v.                                         )                     ORDER
                                            )
 CAROL FONSECA                              )
 CONSTANCE LILLY GRAVES,                    )

                Defendants.                 )


        THIS MATTER is before the court on defendant Graves’ Unopposed Motion to

Continue (#85). This matter has been continued four (4) times by prior Order of this court.

              Order (#38), Entered: September 8, 2016
              Order (#53), Entered: November 10, 2016
              Order (#73), Entered: December 21, 2016
              Order (#78), Entered: March 14, 2017

         Having considered such motion and reviewed the pleadings, the court enters the

following Order.

        Given that defendant Graves was arraigned in September 2016 and defendant

Fonseca was arraigned in August 2016, the court would appreciate the benefit of a hearing

before granting a fifth continuance in this matter. Defendant Fonseca is joined in this case

and no severance has been granted.



                                         ORDER


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                         IT IS, THEREFORE, ORDERED that the court will hold a hearing on the

               Unopposed Motion to Continue (#85) at the time of the currently scheduled calendar call.


Signed: April 25, 2017




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